
Lvov Acupuncture, P.C., as Assignee of Iesha George, Appellant, 
againstHereford Insurance Co., Respondent. 




Kopelevich &amp; Feldsherova, P.C. (David Landfair of counsel), for appellant.
Goldberg, Miller &amp; Rubin (Matthew Lavoie of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Louis L. Nock, J.), entered December 20, 2017. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint on the ground that plaintiff had failed to appear for duly scheduled examinations under oath.
For the reasons stated in Allay Med. Servs., P.C., as Assignee of Harrison, Henry v Travelers Ins. Co. (___ Misc 3d ___, 2019 NY Slip Op _____ [appeal No. 2017-2383 K C], decided herewith), the order is affirmed.
PESCE, P.J., ALIOTTA and SIEGAL, JJ., concur.

ENTER:
Paul Kenny
Chief Clerk
Decision Date: November 08, 2019










